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                       UNITED STATES DISTRICT COURT
                           DISTRICT OF COLUMBIA

DEBORAH LAUFER,
         Plaintiff,

v.                                                       Case No: 20-cv-2208 (RBW)


R B PROPERTIES, INC.,
          Defendant .

          STATEMENT MADE PURSUANT TO 28 U.S.C. SECTION 1746


     1.    My name is Deborah Laufer. I am currently a resident of Pasco County, Florida. I

           am unable to engage in the major life activity of walking more than a few steps

           without assistive devices. Instead, I am bound to ambulate in a wheelchair or with

           a cane or other support and have limited use of my hands. I am unable to tightly

           grasp, pinch and twist of the wrist to operate. I am also vision impaired. When

           ambulating beyond the comfort of my own home, I must primarily rely on a

           wheelchair. I require accessible handicap parking spaces located closet to the

           entrances of a facility. The handicap and access aisles must be of sufficient width

           so that I can embark and disembark into a vehicle. Routes connecting the

           handicap spaces and all features, goods and services of a facility must be level,

           properly sloped, sufficiently wide and without cracks, holes or other hazards that

           can pose a danger of tipping, catching wheels or falling. These areas must be free

           of obstructions or unsecured carpeting that make passage either more difficult or

           impossible. Amenities must be sufficiently lowered so that I can reach them. I



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     have difficulty operating door knobs, sink faucets, or other operating mechanisms

     that tight grasping, twisting of the wrist or pinching. I am hesitant to use sinks that

     have unwrapped pipes, as such pose a danger of scraping or burning my legs.

     Sinks must be at the proper height so that I can put my legs underneath to wash

     my hands. I require grab bars both behind and beside a commode so that I can

     safely transfer and I have difficulty reaching the flush control if it is on the wrong

     side. I have difficulty getting through doorways if they lack the proper clearance.

     To use a pool, I require a lift or other accessible means. When sleeping in a guest

     room, I need a compliant tub or shower with required grab bars and a shower seat.

2.   When looking at a hotel online reservation system, I need information so that I

     can ascertain whether or not the hotel and its guest rooms are accessible to me.

     This includes information whether the conditions referenced above are compliant.

3.    In the past, I have observed that the vast majority of hotel online reservations

     systems do not allow for booking of accessible rooms or provide the information I

     need to make an informed choice. I have also booked a room at hotels whose

     websites claim they are “accessible”, only to find that this claim is untrue.

     Therefore, I cannot make plans to travel if I intend to stay in an accessible room at

     an accessible hotel. The failure of so many hotels to comply with the law in this

     regard deter me from making travel plans. Therefore, I am an advocate on behalf

     of both myself and other similarly situated disabled persons and consider myself a

     tester. As a tester, I visit hotel online reservations systems to ascertain whether

     they are in compliance with the Americans With Disabilities Act. In the event that


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     they are not, I request that a law suit be filed to bring the website into compliance

     with the ADA so that I and other disabled persons can use it. If a law suit is filed

     to bring the website into compliance, I frequently revisit the website to ascertain

     whether or not it has been made accessible with the information required by law.

     With respect to each law suit I file, I subsequently revisit each website because

     that is my system.

5.   I intend to travel to the District of Columbia, and also travel northward visiting

     several states, as soon as the Covid crisis abates. I will be staying in area hotels

     when I visit. Because the Defendant’s hotel and so many other hotel websites fail

     to allow for booking of accessible rooms and fail to provide sufficient information

     about whether or not the hotels’ features are accessible, it makes it extremely

     difficult for me to make any meaningful choice because I am deprived of the

     information I need to compare the accommodations of various hotels and make

     my plans.

6.   Rooms for the Hotel Lombardy, 2019 Pennsylvania Avenue, NW, Washington

     DC, can be reserved through various online reservations websites, including

     Expedia, hotels.com, booking.com, orbitz priceline, and agoda. Prior to filing this

     lawsuit, on 7.17.20, 7.19.20, 7.20.20, 7.21.20, and 7.25.20, I visited the online

     reservation system for the Defendant’s hotel for the purpose of reviewing and

     assessing the accessible features at the hotel and ascertain whether the websites

     contain the information required by 28 C.F.R. Section 36.302(e) and adequately

     informs me as to whether the hotel meets my accessibility needs. I was in my own


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     home in Pasco County when I visited these websites. However, I was unable to do

     so because Defendant failed to comply with the requirements set forth in 28

     C.F.R. Section 36.302(e). As a result, I was deprived the same services available

     to the general public. The websites do not identify any accessible rooms, provide

     for booking of accessible rooms or contain any information as to whether any

     rooms or features at the hotel are accessible. In my experience, I have found that

     third party websites are sometimes compliant by identifying and allowing for

     booking of accessible rooms and providing ample information about accessibility.

     I can therefore only conclude that, when a third party reservations system is not

     compliant, it is because the hotel did not provide the required information.

7.   When I encountered the above conditions, I suffered humiliation and frustration at

     being treated like a second class citizen, being denied equal access and benefits to

     the goods, facilities, accommodations and services. I am deterred from returning

     to the websites because I understand that it would be a futile gesture to do so

     unless I am willing to suffer further discrimination. I am aware that defendant

     segregates against me and other disabled persons by offering them one service: me

     a lesser service.. I am aware that I am being deprived the equality of opportunity

     afforded to non-disabled persons to utilize the online reservation system free of

     discrimination. I am also aware that my ability to travel free of discrimination and

     with equal access to information offered to the general public is diminished.

8.   Despite the above, I plan to again review the websites in the near future. I have a

     system whereby I always revisit the websites of every hotel I sued. In this regard,


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               I maintain a list of each hotel I have sued. I constantly go through this list and add

               to it. With respect to each hotel I sue, I shortly thereafter revisit the hotel’s online

               reservations system. Once a case is settled, I mark the date on my list when the

               defendant has agreed to fix its websites. When that date arrives, I revisit it again

               and record my visits. Thus, I revisit each hotel’s online reservations system at

               least two times after a lawsuit is filed. Pursuant to this system, I have already

               revisited the online reservations system for this hotel on 9.10.20.

Pursuant to 28 U.S.C. Section 1746, I declare, certify, verify, and state, under penalty of perjury

that the foregoing is true and correct.

Date: _________
       10.16.20                                __________________________________
                                                       DEBORAH LAUFER




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